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                                  U NITED S TATES D ISTRICT C OURT
                             FOR THE W ESTERN D ISTRICT OF M ICHIGAN
                                        S OUTHERN D IVISION



 UNITED STATES OF AMERICA,

                           Plaintiff,                         No. 1:12-CR-98

 v.                                                           Hon. Robert Holmes Bell

 PABLO RAZO FIERRO,

                           Defendant.



      DEFENDANT’S REPLY TO GOVERNMENT’S RESPONSE TO SENTENCING
          MEMORANDUM AND MOTION FOR DOWNWARD VARIANCE


        The Government’s Response to Defendant’s Sentencing Memorandum and Motion for

Downward Variance makes assertions about the civil litigation in 01-CV-615 that are incorrect. It

was wrong and criminal for Mr. Fierro to work while receiving disability benefits, but his injury and

the resulting problems are legitimate. The government’s mischaracterization of the civil litigation

implies that Mr. Fierro did not have a legitimate injury supporting the receipt of benefits in the first

instance. This is wrong. The Court may or may not find that any of the prior civil litigation is

relevant to its application of the 18 U.S.C. § 3553(a) factors, but it should at least be presented with

the correct information.

        Judge Enslen’s Order is attached as Exhibit E. The record in 01-CV-615 consists of 647

pages of exhibits. The exhibits include transcripts, administrative forms and nearly 500 pages of
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medical records.1 Judge Enslen’s Order finding Mr. Fierro eligible for benefits was not based on

Mr. Fierro as a “charming and persuasive speaker” as suggested by the government (Gov’t Response,

RE#33, PageID#190). Judge Enslen’s Order clearly stated that Mr. Fierro’s reports of pain were

supported by substantial and objective medical evidence. Exhibit E, p.4.

         A number of doctors - including Joel Jarvis, M.D. who had been treating Mr. Fierro for a

period of 16 years that covered all pre-injury and post-injury time frames - opined extensively that

Mr. Fierro suffered a severe back injury that caused substantial and chronic pain. Exhibit E, pp. 5-6.

The doctors also described Mr. Fierro’s “major depressive disorder,” which was directly linked to

his injury and the limitations on his ability to work. Exhibit E, p. 5.

         The government says that the ALJ who conducted a “full evidentiary hearing in 2000” took

testimony from “several” physicians who opined that there was “nothing physically wrong with him

that would prevent him from working.” Gov’t Response, RE#33, PageID#187 (citing to a pleading

filed by the U.S. Attorney’s office in the civil litigation). That is false. Only one vocational therapist

hired by the social security administrator testified at the hearing in the hypothetical about certain jobs

Mr. Fierro might be able to perform and that person had never examined Mr. Fierro. Further, as

noted in Judge Enslen’s Opinion, the “only support for the ALJ’s conclusion is two Residual

Functional Capacity Assessment forms completed by state agency physicians who never examined”

Mr. Fierro. Exhibit E, p. 6.




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           The 01-CV-165 case is sealed. Judge Enslen’s Opinion was provided in discovery, however, but the
defense feels that electronic filing of the other documents from a sealed case would otherwise be inappropriate unless
requested by the Court. Magistrate Judge Carmody’s Report and Recommendation to Judge Enslen to award
benefits has a lengthy, detailed discussion of the medical evidence that Judge Enslen relied on, but that is likewise
sealed.

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       Judge Enslen reviewed the extensive medical evidence of Mr. Fierro’s injury, pain and

depression to award benefits. Judge Enslen was not “duped” into awarding benefits by Mr. Fierro

as the government suggests. This should come as no surprise to the Court.

       The government says that when Mr. Fierro’s benefits were terminated in 1998, he appealed

that decision to the ALJ. Gov’t Response, RE#33, PageID#187. That is incorrect. Mr. Fierro’s

benefits terminated in May 1998. He chose not to appeal that decision. Exhibit E, p. 1. Instead, he

later attempted working through the pain. He was receiving no benefits at this time nor did he have

an application pending. His condition deteriorated as the pain became overwhelming and he could

not pay for the pain medication because he could not afford health insurance. This is noted

throughout Dr. Jarvis’s records that were submitted to the ALJ and that are part of the sealed record

in 01-CV-165. He reapplied for social security disability in May 1999. When he was denied, he

took the appeal that is 01-CV-165.

       The Court should not be under the misconception that he immediately appealed when

benefits terminated in 1998. Consistent with his nature, he made every effort to work before

reapplying in 1999.

       Finally, the government offers a portion of a transcript of the June 2000 hearing with the ALJ

- a sealed document - to suggest Mr. Fierro lied about his work at that time. This is also wrong.

The transcript the government attaches is incomplete. The government does not submit the

remainder of the transcript where Mr. Fierro’s periods of less-than- full- time work were discussed.

The ALJ accepted hundreds of pages of medical records, and the deposition of Dr. Jarvis, where Mr.

Fierro’s efforts at working were documented.

       To summarize, Mr. Fierro’s back injury and the pain and depression that came with it was,


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and is, a very real condition. His crime was working in spite of that condition, not falsifying the

condition.

                                             Respectfully Submitted,
Dated: December 7, 2015
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